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                           EXHIBIT B - Registered Trademarks

                                   Registration                Registration Date
            Trademark
                                    Number
            Description
              Animal                 2,803,207                     1/6/2004
              Crossing
               ARMS                  5,292,973                    09/19/2017
           Captain Toad              4,774,095                    7/14/2015
           Donkey Kong               4,397,351                     9/3/2013
           Donkey Kong               3,999,877                    7/19/2011
              Country
             Game Boy                4,126,556                    04/10/2012
             Game Boy                4, 402,983                   9/17/2013
             Game Boy                2,550,938                    3/19/2002
              Advance
             Game Boy                2,665,095                    12/24/2002
              Advance
             Game Boy                4,180,571                    7/24/2012
               Color
             Game Boy                4,158,645                    6/12/2012
               Color
             Kid Icarus              1,494,364                    6/28/1988
               Luigi’s               4,342,883                    5/28/2013
              Mansion
               Mario                 3,483,123                    8/12/2008
            Mario Bros.              1,303,633                    11/06/1984
            Mario Kart               2,345,411                    4/25/2000
            Mario Party              2,387,966                    9/19/2000
              Metroid                1,494,365                    6/28/1988
              Metroid                3,923,764                    2/22/2011
              Metroid                2,762,377                     9/9/2003
               Prime
             Nintendo                1,497,674                    7/26/1988
             Nintendo                1,689,015                    5/26/1992
           Nintendo 3DS              4,234,454                    10/30/2012
            Nintendo 64              2,372,472                     8/1/2000
            Nintendo DS              3,094,181                    5/16/2006
            Nintendo DS              3,166,136                    10/31/2006
             Nintendo                1,440,706                    9/11/2001
           Entertainment
              System
             Nintendo                5,477,313                    5/22/2018
               Switch



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                                Registration             Registration Date
            Trademark
                                 Number
            Description
              Nintendo           5,443,363                   4/10/2018
               Switch
              (Design)
              Pokémon            2,297,050                  11/30/1999
              Pokémon            2,356,298                   6/6/2000
              Pokémon            2,514,998                  12/4/2001
            Snipperclips         5,376,713                   1/9/2018
              Splatoon           4,791,747                  8/11/2015
              Star Fox           1,883,044                   3/7/1995
            Super Mario          2,345,441                  4/25/2000
            Super Mario          2,319,991                  2/22/2000
                  64
            Super Mario          2,345,410                   4/25/2000
                 Bros.
            Super Mario          4,126,557                  04/10/2012
                 Land
            Super Mario          5,525,632                   7/24/2018
              Odyssey
            Super Mario          5,638,525                  12/25/2018
                 Run
            Super Mario          1,704,302                   7/28/1992
                World
                Super            1,693,331                   6/9/1992
              Nintendo
           Entertainment
               System
                 The             1,575,270                   1/02/1990
           Adventure of
                 Link
           The Legend of         1,494,363                   6/28/1988
                Zelda
           The Legend of         3,408,763                   4/8/2008
                Zelda
           The Legend of         5,277,680                   8/29/2017
           Zelda Breath
             of the Wild
           The Legend of         4,946,348                   4/26/2016
                Zelda
              Majora’s
                Mask
           The Legend of         1,742,389                  12/22/1992
           Zelda A Link


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                                Registration             Registration Date
               Trademark
                                 Number
               Description
               To The Past
                   Wii           3,500,328                   9/9/2008
                   Wii           3,604,541                   4/7/2009
                  Yoshi          1,777,293                   6/15/1993




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